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                    Exhibit 12
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              Exhibit 12
Claim 23 of U.S. Patent No. 10,771,302




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                            Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.275 Filed 03/29/22 Page 3 of 35
                                                     U.S. Patent No. 10,771,302: Claim 23(a)
     "23. A mobile device in an Orthogonal Frequency Division Multiplexing (OFDM) communication system, the mobile device comprising:”
23.    A mobile device in an Orthogonal Ford’s Accused Products include vehicles equipped with components and/or devices that enable connectivity
Frequency Division Multiplexing          to 4G/LTE networks and services, including services sold and provided by Ford.
(OFDM) communication system, the
mobile device comprising:                To the extent the preamble is considered a limitation, Ford’s Accused Products meet the preamble of the ’302
                                         patent. E.g.,

                                           The LTE specification (Series 36, Release 8) supports user equipment (UE) to perform a sounding reference
                                           signal (SRS) procedure.
                                           For example, release 8 of the 36 series 3GPP specifications was frozen in December of 2008 and that release
                                           was used as the basis for the first wave of LTE equipment. The LTE marketplace currently supports a mix of
                                           releases from Release 8 through Release 15. For ease of review release 8 of the LTE specification is cited
                                           below, but similar cites are available for each corresponding release on the market.
                                           An LTE communication system has user equipments (UEs) transmit to and receive signals from eNodeBs.




                                                                         2
                      Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.276 Filed 03/29/22 Page 4 of 35
                                               U.S. Patent No. 10,771,302: Claim 23(a)
"23.   A mobile device in an Orthogonal Frequency Division Multiplexing (OFDM) communication system, the mobile device comprising:”




                                    See e.g., 3GPP TS 36.300 V8.12.0 at pg. 15.




                                                                  3
                      Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.277 Filed 03/29/22 Page 5 of 35
                                               U.S. Patent No. 10,771,302: Claim 23(a)
"23.   A mobile device in an Orthogonal Frequency Division Multiplexing (OFDM) communication system, the mobile device comprising:”




                                    See e.g., 3GPP TS 36.300 V8.12.0 at pg. 18.

                                    LTE uses OFDM for both the downlink and the uplink. For the uplink, LTE uses a specific type of OFDM
                                    referred to a discrete Fourier Transform Spread (DFTS)-OFDM.




                                    See e.g., 3GPP TS 36.300 V8.12.0 at pg. 25.




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                      Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.278 Filed 03/29/22 Page 6 of 35
                                               U.S. Patent No. 10,771,302: Claim 23(a)
"23.   A mobile device in an Orthogonal Frequency Division Multiplexing (OFDM) communication system, the mobile device comprising:”




                                    See e.g., 3GPP TS 36.300 V8.12.0 at pg. 27.




                                                                  5
                      Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.279 Filed 03/29/22 Page 7 of 35
                                               U.S. Patent No. 10,771,302: Claim 23(a)
"23.   A mobile device in an Orthogonal Frequency Division Multiplexing (OFDM) communication system, the mobile device comprising:”
                                     LTE uses an uplink channel bandwidth divided into physical resource blocks.




                                    See e.g., 3GPP TS 36.101 V8.29.0 at pg. 15.

                                                                  6
                      Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.280 Filed 03/29/22 Page 8 of 35
                                               U.S. Patent No. 10,771,302: Claim 23(a)
"23.   A mobile device in an Orthogonal Frequency Division Multiplexing (OFDM) communication system, the mobile device comprising:”
                                     Each physical resource block (PRB) has 12 subcarriers.




                                    See e.g., 3GPP TS 36.211 V8.9.0 at pg. 13.
                                    IP packets, voice and other user plane data is sent over dedicated traffic channels (DTCHs), which are sent
                                    over the uplink shared channel (UL-SCH) transport channel.




                                                                   7
                      Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.281 Filed 03/29/22 Page 9 of 35
                                               U.S. Patent No. 10,771,302: Claim 23(a)
"23.   A mobile device in an Orthogonal Frequency Division Multiplexing (OFDM) communication system, the mobile device comprising:”




                                    See e.g., 3GPP TS 36.300 V8.12.0 at pg. 34.




                                                                  8
                     Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.282 Filed 03/29/22 Page 10 of 35
                                                U.S. Patent No. 10,771,302: Claim 23(a)
"23.   A mobile device in an Orthogonal Frequency Division Multiplexing (OFDM) communication system, the mobile device comprising:”
                                     The UL-SCH transport channel is sent over the physical uplink shared channel (PUSCH) and control is sent
                                     over the physical uplink control channel (PUCCH).




                                     See e.g., 3GPP TS 36.300 V8.12.0 at pg. 31.




                                     See e.g., 3GPP TS 36.211 V8.9.0 at pg. 16.

                                     The PUCCH is transmitted using the outer PRBs/subcarriers of the uplink bandwidth and the PUSCH is
                                     transmitted using the PRBs/subcarriers between the PUCCH subcarriers.




                                     See e.g., 3GPP TS 36.211 V8.9.0 at pg. 20.



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                     Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.283 Filed 03/29/22 Page 11 of 35
                                               U.S. Patent No. 10,771,302: Claim 23(a)
"23.   A mobile device in an Orthogonal Frequency Division Multiplexing (OFDM) communication system, the mobile device comprising:”




                                    See e.g., 3GPP TS 36.211 V8.9.0 at pg. 21.




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                     Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.284 Filed 03/29/22 Page 12 of 35
                                               U.S. Patent No. 10,771,302: Claim 23(a)
"23.   A mobile device in an Orthogonal Frequency Division Multiplexing (OFDM) communication system, the mobile device comprising:”




                                    See e.g., 4G LTE=Advanced Pro and The Road to 5G, Third Edition, Dahlman et al, §7.4.1.6.




                                                                 11
                             Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.285 Filed 03/29/22 Page 13 of 35
                                                          U.S. Patent No. 10,771,302: Claim 23(b)
                            " a receiver configured to receive a request for a probing signal from a base station in the system;”
a receiver configured to receive a request    Ford’s Accused Products include a receiver configured to receive a request for a probing signal from a base
for a probing signal from a base station in station in the system. E.g.,
the system;
                                              For example, for periodic SRS the UE receives from the eNB an RRC message
                                              (RRCConnectionReconfiguration message or SystemInformation message) including SRS configuration
                                              parameters in the SoundingRS-UL-Config information element, which instructs the UE to periodically transmit
                                              SRS.




                                                                          12
 Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.286 Filed 03/29/22 Page 14 of 35
                              U.S. Patent No. 10,771,302: Claim 23(b)
" a receiver configured to receive a request for a probing signal from a base station in the system;”
                  See e.g., 3GPP TS 36.331 V8.21.0 at p. 89.




                 See e.g., 3GPP TS 36.331 V8.21.0 at p. 129.




                 See e.g., 3GPP TS 36.331 V8.21.0 at p. 122.
                                                 13
 Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.287 Filed 03/29/22 Page 15 of 35
                              U.S. Patent No. 10,771,302: Claim 23(b)
" a receiver configured to receive a request for a probing signal from a base station in the system;”




                 See e.g., 3GPP TS 36.331 V8.21.0 at p. 100.




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 Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.288 Filed 03/29/22 Page 16 of 35
                              U.S. Patent No. 10,771,302: Claim 23(b)
" a receiver configured to receive a request for a probing signal from a base station in the system;”




                 See e.g., 3GPP TS 36.331 V8.21.0 at p. 105.




                                                 15
 Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.289 Filed 03/29/22 Page 17 of 35
                              U.S. Patent No. 10,771,302: Claim 23(b)
" a receiver configured to receive a request for a probing signal from a base station in the system;”




                 See e.g., 3GPP TS 36.331 V8.21.0 at p. 128.




                                                 16
 Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.290 Filed 03/29/22 Page 18 of 35
                              U.S. Patent No. 10,771,302: Claim 23(b)
" a receiver configured to receive a request for a probing signal from a base station in the system;”




                 3GPP TS 36.331 V8.21.0 at p. 132.

                 For LTE-A UEs, those UEs can also be instructed to send an aperiodic SRS by the eNB as part of downlink
                 control information (DCI) formats 0, 1A, 2B, 2C, and 4.




                 See e.g., 3GPP TS 36.213 V10.13.0 at pg. 81.

                                                 17
 Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.291 Filed 03/29/22 Page 19 of 35
                              U.S. Patent No. 10,771,302: Claim 23(b)
" a receiver configured to receive a request for a probing signal from a base station in the system;”




                 See e.g., 3GPP TS 36.212 V10.9.0 at pg. 58.




                 See e.g., 3GPP TS 36.212 V10.9.0 at pg. 60.




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                              Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.292 Filed 03/29/22 Page 20 of 35
                                                          U.S. Patent No. 10,771,302: Claim 23(c)
  "a transmitter configured to form and transmit, in response to the received request, the probing signal with a code sequence modulated in the frequency
                                                                      domain, wherein:"
a transmitter configured to form and         Ford’s Accused Products each include a transmitter configured to form and transmit the probing signal with a
transmit, in response to the received        code sequence modulated in the frequency domain. E.g.,
request, the probing signal with a code
sequence modulated in the frequency          For example, in response to the RRC signaling (periodic SRS) or the SRS request (aperiodic SRS), the UE
domain, wherein:                             generates a phase shifted SRS sequence that is modulated onto subcarriers in the frequency domain.




                                            See e.g., 3GPP TS 36.211 V8.9.0 at pg. 21.




                                                                          19
                            Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.293 Filed 03/29/22 Page 21 of 35
                                                        U.S. Patent No. 10,771,302: Claim 23(c)
"a transmitter configured to form and transmit, in response to the received request, the probing signal with a code sequence modulated in the frequency
                                                                    domain, wherein:"




                                           See e.g., 3GPP TS 36.211 V8.9.0 at pg. 28.

                                           The UE transmits the SRS to the eNodeB.




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                            Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.294 Filed 03/29/22 Page 22 of 35
                                                        U.S. Patent No. 10,771,302: Claim 23(c)
"a transmitter configured to form and transmit, in response to the received request, the probing signal with a code sequence modulated in the frequency
                                                                    domain, wherein:"
                                           See e.g., 3GPP TS 36.211 V8.9.0 at pg. 31.




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                                                           U.S. Patent No. 10,771,302: Claim 23(d)
" the probing signal is configured to overlap, in the time domain, with uplink signals transmitted over an uplink frequency band by other mobile devices in
                                                                       the system; and"
 the probing signal is configured to        The probing signal transmitted by Ford’s Accused Products is configured to overlap, in the time domain, with
 overlap, in the time domain, with          uplink signals transmitted over an uplink frequency band by other mobile devices in the system. E.g.,
 uplink signals transmitted over an
 uplink frequency band by other mobile For example, the SRS is mapped to one symbol in the time domain but over many subcarriers in the frequency
 devices in the system; and                 domain, and overlaps with PUCCH in the time domain.




                                          See e.g., 3GPP TS 36.211 V8.9.0 at pg. 28.

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                             Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.296 Filed 03/29/22 Page 24 of 35

                                                           U.S. Patent No. 10,771,302: Claim 23(d)
" the probing signal is configured to overlap, in the time domain, with uplink signals transmitted over an uplink frequency band by other mobile devices in
                                                                       the system; and"
                                            The UE transmits the SRS to the eNodeB.




                                          See e.g., 3GPP TS 36.211 V8.9.0 at pg. 31.




                                          See e.g., 3GPP TS 36.211 V8.9.0 at pg. 21.




                                          See e.g., 3GPP TS 36.211 V8.9.0 at pg. 30.


                                                                            23
                             Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.297 Filed 03/29/22 Page 25 of 35

                                                           U.S. Patent No. 10,771,302: Claim 23(d)
" the probing signal is configured to overlap, in the time domain, with uplink signals transmitted over an uplink frequency band by other mobile devices in
                                                                       the system; and"




                                          See e.g.,
                                          http://rfmw.em.keysight.com/wireless/helpfiles/89600b/webhelp/subsystems/lte/content/lte_overview.htm




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                             Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.298 Filed 03/29/22 Page 26 of 35

                                                          U.S. Patent No. 10,771,302: Claim 23(e)
" the probing signal is configured to occupy a portion of spectrum in the uplink frequency band not designated for transmission of uplink control signals in
                                                                        the system."
 the probing signal is configured to occupy The probing signal transmitted by Ford’s Accused Products is configured to occupy a portion of spectrum in
 a portion of spectrum in the uplink          the uplink frequency band not designated for transmission of uplink control signals in the system.. E.g.,
 frequency band not designated for
 transmission of uplink control signals in    For example, SRS transmissions are sent using a portion of the uplink bandwidth.
 the system.




                                              See e.g., 3GPP TS 36.213 V8.8.0 at pg. 55.

                                              SRS does not overlap in the frequency domain with PUCCH subcarriers.




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                             Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.299 Filed 03/29/22 Page 27 of 35

                                                          U.S. Patent No. 10,771,302: Claim 23(e)
" the probing signal is configured to occupy a portion of spectrum in the uplink frequency band not designated for transmission of uplink control signals in
                                                                        the system."




                                              See Sesia, Toufik and Baker, “LTE: The UMTS Long Term Evolution From Theory to Practice”, at p. 338.




                                                                             26
                             Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.300 Filed 03/29/22 Page 28 of 35

                                                          U.S. Patent No. 10,771,302: Claim 23(e)
" the probing signal is configured to occupy a portion of spectrum in the uplink frequency band not designated for transmission of uplink control signals in
                                                                        the system."




                                              See e.g., Sesia, Toufik and Baker, “LTE: The UMTS Long Term Evolution From Theory to Practice”, at p.
                                              358.




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                             Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.301 Filed 03/29/22 Page 29 of 35

                                                          U.S. Patent No. 10,771,302: Claim 23(e)
" the probing signal is configured to occupy a portion of spectrum in the uplink frequency band not designated for transmission of uplink control signals in
                                                                        the system."




                                              See e.g.,
                                              http://rfmw.em.keysight.com/wireless/helpfiles/89600b/webhelp/subsystems/lte/content/lte_overview.htm

                                              For example, the PUCCH is mapped into a resource block a single resource block in each time slot that is
                                              located near the top or the bottom of the uplink bandwidth.



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                             Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.302 Filed 03/29/22 Page 30 of 35

                                                          U.S. Patent No. 10,771,302: Claim 23(e)
" the probing signal is configured to occupy a portion of spectrum in the uplink frequency band not designated for transmission of uplink control signals in
                                                                        the system."




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                             Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.303 Filed 03/29/22 Page 31 of 35

                                                          U.S. Patent No. 10,771,302: Claim 23(e)
" the probing signal is configured to occupy a portion of spectrum in the uplink frequency band not designated for transmission of uplink control signals in
                                                                        the system."




                                              See e.g., 3GPP TS 36.211 V8.9.0 at pg. 20-21.


                                                                             30
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                                                          U.S. Patent No. 10,771,302: Claim 23(e)
" the probing signal is configured to occupy a portion of spectrum in the uplink frequency band not designated for transmission of uplink control signals in
                                                                        the system."

                                              The SRS signal may be mapped to a variety of locations in the frequency domain depending on the
                                              configuration of the system. Tables 5.5.3.2-1 through 5.5.3.2-4 provide the available LTE configurations.
                                              These configurations map the SRS in blocks towards the middle of uplink bandwidth and avoid the resource
                                              blocks at the ends of the uplink bandwidth that carry the PUCCH.




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                             Case 2:22-cv-11402-TGB ECF No. 1-12, PageID.305 Filed 03/29/22 Page 33 of 35

                                                          U.S. Patent No. 10,771,302: Claim 23(e)
" the probing signal is configured to occupy a portion of spectrum in the uplink frequency band not designated for transmission of uplink control signals in
                                                                        the system."




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                                                          U.S. Patent No. 10,771,302: Claim 23(e)
" the probing signal is configured to occupy a portion of spectrum in the uplink frequency band not designated for transmission of uplink control signals in
                                                                        the system."




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                                                          U.S. Patent No. 10,771,302: Claim 23(e)
" the probing signal is configured to occupy a portion of spectrum in the uplink frequency band not designated for transmission of uplink control signals in
                                                                        the system."




                                              See e.g., 3GPP TS 36.211 V8.9.0 at pg. 28-31.




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